       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 1 of 10 PageID #:1




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

FRANK TRONCO,                                           )
                        Plaintiff,                      )
                                                        )
                 vs.                                    ) JURY DEMANDED
                                                        )
CHIEF JUDGE OF THE CIRCUIT COURT OF                     ) No.
COOK COUNTY, ILLINOIS,                                  )
ROBERT HARRIS,                                          )
YVONNE ZEHR,
KELLY THORNTON,                                         )
CAROLYN THOMAS,                                         )
               Defendants.                              )

                                     COMPLAINT


           Plaintiff, Frank Tronco, employed by the Public Guardian of Cook

County, Illinois, has instituted this action, through his attorney, Sheldon

Nagelberg, based on reasonable cause that defendants Chief Judge of the

Circuit Court of Cook County, Robert Harris, Yvonne Zehr, Kelly Thornton,

and Carolyn Thomas, acting in their official and individual capacities, have

jointly conspired and individually engaged to deprive Frank Tronco of his

right of free speech and due process of law as protected by the U.S.

Constitution and Illinois Constitution.

                           JURISDICTION AND VENUE

           1. This action is brought pursuant to 42 U.S.C. 1983, and 1985, the

equal protection and due process clauses of the Fifth and Fourteenth

Amendments, U.S. Constitution, and the Due Process and Free Speech




	                                        1	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 2 of 10 PageID #:2




Clauses of the Illinois Constitution. Plaintiff asserts Illinois state law claims

for the Illinois Constitutional violations, breach of contract, and intentional

infliction of emotional distress.

           2. Jurisdiction is conferred on plaintiffs’ federal claims upon this

United States District Court by 28 U.S.C. 1331, 1343, 42 U.S.C. 2000e-5(f),

42 U.S.C. 1981, 1983, 1985. This Court has supplemental jurisdiction over

plaintiffs’ state law claims pursuant to 28 U.S.C. 1367.

           3. Venue is proper in this District pursuant to 28 U.S.C. 1391 because

the events giving rise to this claim occurred in this District.



                                    THE PARTIES

           4. Plaintiff Frank Tronco is employed as a clerk for the Public

Guardian of Cook County. He is a citizen of the United States.

           5. Defendant Chief Judge is an “employer” as defined in 42 U.S.C.

12111, 29 C.F.R. 1630.2. Defendant Chief Judge is responsible for the

employment and management of the Cook County Public Guardian, which is

funded by the Cook County Board, and federal funding.

            6. Defendant Chief Judge, pursuant to a Collective Bargaining

Agreement between himself and AFSCME Council 31, Local 3969,

representing the employees in the Office of the Cook County Public Guardian,

is the employer of the plaintiff, and has the duties and responsibilities vested

in it by the laws and the Constitutions of the United States and the State of




	                                          2	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 3 of 10 PageID #:3




Illinois. The Collective Bargaining Agreement also gives defendant Chief

Judge the full authority and responsibility for directing the operations and

determining the policy of the Cook County Public Guardian.

           7. At all relevant times Defendant Robert Harris is the Public

Guardian of the Office of the Cook County Public Guardian. Defendant

Harris was appointed by the Chief Judge, and he administers, by direction of

the Chief Judge, and the Collective Bargaining Agreement, the daily

operation of the Cook County Public Guardian.

           8. At all relevant times, defendant Yvonne Zehr, is the Chief Deputy

Public Guardian.

           9. At all relevant times Defendant Carolyn Thomas is the Director of

Human Resources of the Cook County Public Guardian.

           10. At all relevant times Defendant Kelly Thornton is a supervisor in

the Cook County Public Guardian office..

                                       FACTS

           11. Frank Tronco has been employed as a clerk in the Public Guardian

office since 1994. His job performance has always met or exceeded

expectations, and that unsolicited letters from fellow employees have praised

his work and assistance to staff attorneys.

           12. Article XI of the Collective Bargaining Agreement contains

procedures to be used in the administration of discipline of employees.




	                                        3	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 4 of 10 PageID #:4




           13. Defendants created “Non-Harassment” and “Sexual Harassment”

policies which they use to justify and support their claims that employees

commit harassment.

           14. On December 13, 2013 plaintiff was accused by defendant Carolyn

Thomas of committing sexual harassment of an employee on December 9,

2013. Defendant Thomas sought to terminate plaintiff’s employment, and

expressed her intentions to defendants Harris, Zehr, and Thornton.

           15. Plaintiff, with the assistance of the union, denied the allegation of

sexual harassment. At a “Pre-Disciplinary Hearing” held on December 19,

2013 by defendant Thomas, testimony was heard with defendant Thornton

testifying for the employer/administration, and plaintiff testifying on his

behalf.

           16. In her written findings of the December 19 testimony, defendant

Thomas expressed her “frustration that [witness A] could not corroborate at

least the conversation [complainant witness B] had with [plaintiff] ………

Because [witness A] did not corroborate [complainant witness B]’s statement

I have to wonder if [complainant witness B] is embellishing what happened”.

           17. Defendant Thomas’ written findings expressed her hope that the

allegation of complainant witness B would have been the necessary event

leading to the termination of plaintiff’s employment. Defendant Thomas

writes “ When this was first brought to my attention, I was sure that Frank




	                                          4	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 5 of 10 PageID #:5




would be terminated. After the investigation and hearing, the office does not

have enough to terminate him.”

           18. Although she was left with no credible evidence to support the

allegation of sexual harassment, defendant Thomas, with the approval of the

defendants, ordered plaintiff to suffer a one day suspension and attend

counseling for sexual harassment and hostile workplace violence.

           19. On February 4, 2014 Frank Tronco was accused of racial

harassment when he asked a fellow employee, who is African-American:

                 “What are you eating, greens? He said no, so you
                 said, “fried chicken? He said no and you asked,
                 “What is it?, he told you it was chili.”

           This claimed conversation between the plaintiff and the other

employee was not intended by plaintiff to be rooted in racial prejudice. Nor

had Mr. Tronco ever exhibited a pattern of race discrimination.

           20. As a result of this alleged statement the defendants suspended

plaintiff without pay from February 11 to February 27, 2014, justifying such

discipline by claiming it was a violation of the “Non-Harassment Policy”.

Defendant Zehr issued the suspension, claiming that plaintiff committed an

act of “inappropriate interactions in the workplace”.

           21. In fact, the defendants “Non-Harassment Policy” was written and

construed in vague terms, which permitted the defendants to recklessly use

the “Policy” arbitrarily to carry out their personal likes or dislikes of

employees.




	                                        5	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 6 of 10 PageID #:6




           22. Defendants Thornton and Thomas had a personal dislike of

plaintiff, and would not separate their personal feelings from the law

concerning harassment. Defendants Thornton’s and Thomas’ personal dislike

of Mr. Tronco’ speech caused them to not function in the workplace so as to

distinguish between their subjective feelings and objective facts, thus

resulting in an arbitrary and reckless abuse of the collective bargaining

agreement in the administration of discipline.

           23. Plaintiff used the grievance procedures within the Collective

Bargaining Agreement to defend himself. As late as July 21, 2014, at a Step 3

grievance hearing, the employer’s own counsel entered findings and a ruling

denying plaintiff’s grievance, stating that such remarks are “grossly

inappropriate” and “violate not only Department Policy, but possibly local,

state, and federal law regarding discrimination.”

            24. In truth, plaintiff’s words did not violate local, state, or federal

discrimination law. The defendants’ findings supporting the suspension were

made without sufficient evidence, were arbitrary, and evidenced a continued

reckless pattern and practice of the defendants’ utilization of their personal

subjective dislikes of the plaintiff ‘s speech as justifying and supporting

discipline, and attempted termination of plaintiff’s employment.

            25. The conduct of the defendants in disciplining Mr. Tronco for his

speech has affected him to the degree that he experiences emotional distress

where he feels that at his workplace he is “walking on eggshells”, suffers




	                                           6	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 7 of 10 PageID #:7




nightmares, frequently breaks out into sweats, and his nerves cause his body

to shake when he enters the workplace building.


                                    COUNT ONE
               Violations of First Amendment Free Speech, Fourteenth
         Amendment Due Process Clauses, 42 U.S.C. 1983, 1985, Illinois
       Constitutional Free Speech and Due Process Clauses, Monell Claim.

           26. Plaintiff incorporates and restates each of the above paragraphs 1

through 25 as if fully set forth herein.

           27. Defendants have acted under color of state law when defendants

deprived plaintiff of his federal rights of free speech and due process of law;

and Illinois Constitutional rights of free speech and due process of law.

           28. The reckless, arbitrary conduct of all defendants in their treatment

of the plaintiff, evidenced the existence of a conspiracy for the purpose of

depriving the plaintiff of his federal and state constitutional rights of free

speech, and due process of law, create a hostile workplace, and terminate

plaintiff’s employment. To effect the goal of this conspiracy the defendants

had a pattern and practice of distorting the rights enumerated within the

Collective Bargaining Agreement, combined with the vagueness and unlawful

standards of their “Non-Harassment” and Sexual Harassment” policies to

impose punishments upon the plaintiff, which included suspensions and loss

of wages.




	                                         7	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 8 of 10 PageID #:8




           29. As a direct and proximate result of defendants’ violations, the

plaintiff has suffered emotional distress, physical distress, threats of loss of

employment, loss of wages.

           WHEREFORE, Plaintiff prays that this Court enter judgment in his

favor and against the defendants, and award compensatory and punitive

damages, lost wages, costs, attorney fees, and whatever relief this Court may

deem appropriate.

                                     COUNT TWO
                           State Claim- Breach of Contract
           30. Plaintiff incorporates and restates each paragraph 1 through 29

as if fully set forth herein.

           31. The conduct of the defendants by reason of their behaviors in

distorting the Collective Bargaining Agreement’s rules concerning the

imposition of discipline of the plaintiff evidenced a willful violation of the

Collective Bargaining Agreement, and evidenced the arbitrary abuse of the

Collective Bargaining Agreement to satisfy the defendants’ conspiratorial

goal to terminate the employment of the plaintiff.

Such conduct resulted in the plaintiff experiencing threats of termination of

employment, emotional distress, physical distress, and loss of wages.

           WHEREFORE, plaintiff prays that this Court enter judgment in his

favor and against the defendants, and award compensatory and punitive

damages, costs, attorney fees, and whatever further relief this Court may

deem appropriate.



	                                         8	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 9 of 10 PageID #:9




                                COUNT THREE
            State Claim-Intentional Infliction of Emotional Distress.

           32. Plaintiff incorporates and restates each paragraph 1 through 31 as

if fully set forth herein.

           33. The conduct of the defendants was extreme and outrageous.

           34. The defendants intended to cause or recklessly or consciously

disregarded the probability of causing emotional distress.

           35. The Plaintiff suffered severe emotional distress.

           36. The defendants’ conduct actually or proximately caused the

plaintiff’s emotional distress.

           WHEREFORE, plaintiff prays that this Court enter judgment in his

favor and against the defendants, and award compensatory and punitive

damages, costs, attorney fees, and whatever further relief this Court may

deem appropriate.


                                     Respectfully submitted,



                                     /s/ SHELDON NAGELBERG
                                     Attorney for Plaintiff


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	                                         9	  
       Case: 1:15-cv-06738 Document #: 1 Filed: 07/31/15 Page 10 of 10 PageID #:10




	                                         10	  
